CaSe 1-18-44666 DOC 1 Filed 08/13/18 Entered 08/13/18 16212202

Fi|l in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DlSTR|CT OF NEW YORK

 

Case number (ifknown)

 

 

Chapter 11

y [:l Check if this an
` amended filing

 

Official Form 201

Voluntary Petition for Non-|ndividuals Filing for Bankruptcy 4116

lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is availab|e.

1. Debtor's name

401 SUNR|SE CORP.

 

2. A|l other names debtor
used in the last 8 years

include any assumed
names, trade names and
doing business as names

 

3. Debtor's federal
Emp|oyer |dentif'lcation
Number (E|N)

1 1 -2805372

 

4. Debtor's address

Principal place of business

401 Sunrise Hwy
Lynbrook, NY 11563
Number, Street, City, State & ZlP Code

Nassau

Mai|ing address, if different from principal place of
business

 

P.O. Box, Number, Street, City, State & ZlP Code

Location of principal assets, if different from principal

 

County

place of business

 

Number, Street, City, State & ZlP Code

 

5. Debtor's website (URL)

 

 

6. Type of debtor

- Corporation (including Limited Liabi|ity Company (LLC) and Limited Liabi|ity Partnership (LLP))

[:l Partnership (excluding LLP)
l:l Other. Specify:

 

 

Offlcia| Form 201

Voluntary Petition for Non-|ndividua|s Filing for Bankruptcy page 1

Case 1-18-44666 DOC 1 Filed 08/13/18 Entel’ed 08/13/18 16212202

Debt°r 401 SUNR|SE CORP.

Case number (ifknown)

 

 

Name

7. Describe debtor's business

A. Check one:

Ei Health Care Business (as defined in 11 U.S.C. § 101(27A))
l:l Sing|e Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
l:l Rai|road (as defined in 11 U.S.C. § 101(44))

m Stockbroker (as defined in 11 U.S.C. § 101(53A))

I:i Commodity Broker (as defined in 11 U.S.C. § 101(6))

l:l C|earing Bank (as defined in 11 U.S.C. §781(3))

- None of the above

B. Check all that apply

l:l Tax-exempt entity (as described in 26 U.S.C. §501)

l:l investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
El investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NA|CS (North American industry Ciassification System) 4-digit code that best describes debtor.
See http://wvwv.uscourts.qov/four-diqit-nationai-association-naics-codes.

 

7225
8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor ming? m Chapter 7
l:i Chapter 9

- Chapter 11. Check all that app/y.

l:l Debtor's aggregate noncontingent liquidated debts (exciuding debts owed to insiders or affiliates)
are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).

- The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). if the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-fiow
statement, and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

EU

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

The debtor is required to file periodic reports (for example, 10K and 1OQ) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
attachment to Vo/untary Petitlon for Non-lndlviduals Fillng for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

l:i The debtor is a shell company as denned in the Securities Exchange Act of 1934 Rule 12b-2.
l:\ Chapter 12

 

9. Were prior bankruptcy
cases filed by or against
the debtor within the last 8
years?

|f more than 2 cases, attach a
separate list.

- No.
i:i Yes.

District When Case number

District When Case number

 

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List ali cases. if more than 1,
attach a separate list

l:i No
l Yes.

Debtor See Attachment Relationship

 

District When Case number, if known

 

thciai Form 201

Vo|untary Petition for Non-lndividuals Filing for Bankruptcy page 2

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212202

 

 

Debtor 401 SUNR|SE CQRP_ Case number (ifknown)
Name
11. Why is the case filed in Check all that apply:

this district?

- Debtor has had its domici|e, principal place of business, or principal assets iii this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

l:l A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12. Does the debtor own or - No
' f
:.`eaavlep':::::sys:':):rs:nn);l n yes' Answer below for each property that needs immediate attention. Attach additional sheets if needed.

property that needs
immediate attention?

Why does the property need immediate attention? (Check all that app/y.)

El it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

[] lt needs to be physically secured or protected from the weather.

El lt includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,

iivestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

cl Other

 

Where is the propeity?

 

Number, Street, City, State & ZlP Code

ls the property insured?
l:l No

|:| Yes_ insurance agency

 

Contact name

 

Phone

 

 

- Statistica| and administrative information

 

13. Debtor's estimation of Check one:
available funds

l Funds will be available for distribution to unsecured creditors.

El After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

 

14. Estimated number of |:] 1.49 |:l 1,000-5,000 I:i 25,001-50,000
creditors ij 50-99 lIl 5001-10,000 El 50,001-100,000
l 100_199 lZl 10,001-25,000 El More thanloo,ooo
lIl 200-999
15. Estimated Assets - $0 _ $50,000 |:l $1,000,001 - $10 million l:l $500,000,001 - $1 billion

lI| $10,000,001 - $50 million
El $50,000,001 - $100 million
El $100,000,001 - $500 million

iIJ $50,001 - $100,000
El $100,001 - $500,000
El $500,001 - $i million

n $1,000,000,001 - $10 billion
n $10,000,000,001 - $50 billion
l:l More than $50 billion

 

16. Estimated liabilities |:l $1,000,001 - $10 million
Ei $10,000,001 - $50 million
Ei $50,000,001 - $100 million

n $100,000,001 - $500 million

l $0 - $50,000

i:i $50,001 - $100,000
i:i $100,001 - $500,000
Ei $500,001 - $1 million

m $500,000,001 - $1 billion

n $1,000,000,001 - $10 billion
n $10,000,000,001 - $50 billion
El More than $50 billion

 

Officiai Form 201 Vo|untary Petition for Non-|ndividua|s Filing for Bankruptcy

page 3

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Debtor 401 SuNR|SE CORP_ 7 7 Case number (ifknown) iii in 7 vi

Name

 

- Request for Reiief, Dec|aration, and Signatures

 

WARN|NG -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Deciaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specined in this petition.
representative of debtor
i have been authorized to nle this petition on behalf of the debtor.
| have examined the information in this petition and have a reasonable belief that the information is trued and correct

l declare under penalty of perjury that the foregoing is true and correct

Executed on August 10,'20¢18

 

 

 

Nii\/i / DD /YYYY
/
X [j//MM‘@¢] MAVQM,,M<,¢`/ Nick Mavromihaiis
Signature of authorized representative of debtor 'Printed name

Tit|e President

 

 

 

 

X _»>,_// n 7 male August 10, 2018

18. Signature of attorney m
dig/nature of attorney for debtor MM / DD /YYYY

 

Lawrence F. Morrison
Printed name

 

Morrison Tenenbaum, PLLC ii
Firm name

87 Wa|ker Street, Second Fioor
New York, NY 10013

 

 

Number, Street, City, State & ZlP Code

Contact phone 212-620-0938 n Email address info@m-t-|aw.com

 

2889590 NY
Bar number and State

 

Officiai Form 201 Vo|untary Petition for Non-individuals Filing for Bankruptcy page 4

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Debtor 401 SUNR|SE CQRP_ Case number (ifknown)

 

 

Name

Fiil in this information to identify your case:

 

United States Bankruptcy Court for the:

EASTERN DlSTR|CT OF NEW YORK

 

Case number (ifknown) Chapter 11

 

m Check if this an
amended filing

 

 

FORM 201. VOLUNTARY PET|T|ON

Pending Bankruptcy Cases Attachment

 

 

 

 

Debtor 401 Rea|ty Corp_ Reiationship to you Affi|iate

District EDNY When 7/27/18 Case number, if known 18.44350 1CEC)
Debe\’ Nichoias Mavromihaiis Reiationship 10 you Affi|iate

District EDNY When 7/27/18 Case number, if known 4 18.44349

 

Official Form 201 Vo|untary Petition for Non-|ndividua|s Filing for Bankruptcy page 5

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

United States Bankruptcy Court
Eastern District of New York

In re 401 SUNR|SE CORP. Case No.

 

Debtor(s) Chapter 1 1

 

LIST OF EQUITY SECURITY HOLDERS

Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter ll Case

 

Name and last known address or place of Security Class Number of Securities Kind of Interest
business of holder

 

George Kaporis 25%
143-14 22nd Road
Whitestone, NY 11 357

Nick Mavromihaiis 50%
143-26 22 Rd
Whitestone, NY 11357

Niko|aos Kastakis 25%
1820 Parsons Blvd.
Whitestone, NY 11357

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.

bare Augustw, 2018 Signature MV¢/»A£, hiram/sz

Nick Mavromihaiis

Penaltyfor making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

Sheet 1 of 1 in List oquuity Security Holders
Soflware Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

United States Bankruptcy Court
Southern District of New York

In re 401 SUNR|SE CORP. Case No.

 

Debtor(s) " Chapter 1 1

 

VERIFICATION OF CREDITOR MATRIX

I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge

Date; August 10, 2018 ,
Nick Mavromihaiis/President
Signer/Title

 

 

Soflware Copyn'ght (c) 1996-2018 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Aqapios Pavlides
42-46 196 St
NY 11358

Alcides Cruz
37 Grant St
NY 11575

Alfredo Talavera
57 Fillmore Avenue
NY 11729

Alirio Tabor
20 Henri St
NY 11696

Amner Vigil Blanco
374 Melvine Road
NY 11520

Anastasia Tsagouris
2 Andrew Lane
NY 11714

Andrea Potaris
8 North Blvd
NY 11518

Andrew Haas
1170 Brunswick Ave
NY 11691

Angelo Calderon
91-51 195 Street
NY 11423

Anibal Salomon Alvarez
510 Southside
NY 11520

Annmarie Giordano
2631 Fox Road
NY 11510

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Antonio Hernandez Flores
511 Northern Parkway
NY 11553

Antonio Vasquez Iglesias
108 Babylon Tpke
NY 11575

Argyros Spyridon
139 Grand.Blvd
NY 11762

Aristomenis Mitropoulos
33 Monroe Street
NY 11563

Arnoldo Lopez
215 Travis Avenue
NY 11003

Ashley Greene
37 Jackson Road
NY 11581

Baldassarre Esposito
295 Denton Avenue
NY 11563

Beth Lapidus
149 Page Road
NY 11581

Billie Bartole
246-11 Jericho Tpke
NY 11426

Brian Diller
960 Park Lane
NY 11581

Bruce Ambrosio
2646 Bayview Avenue
NY 11566

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Bryan Poss
150 South Ocean Avenue
NY 11520

Cagla Fidan
1 Zisko Avenue
NY 11753

Caitline Prestano
350 Merrick Rd.Apt 3V
NY 11570

Carlos Carias
250 Merrick.Road
NY 11563

Carlos Meija
88 Nassau Lane
NY 11558

Carlos Savala
85 Gold Street
NY 11580

Carol Becker
40 Carpenter Avenue
NY 11563

Caroline Crespin
336 S Bayview Dr
NY 11520

Cerrissa Thomas
142-15 180th Street
NY 11434

Christ Kalliangas
58-03 211 St
NY 11364

Christian Hernandez
111-18 134 Street
NY 11165

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Christopher Humphries
149-60 18th Ave
NY 11357

David Lazaros
401 Sunrise Highway
NY 11563

Deborah Agosto
121 Broadway
NY 11563

Deborah Brinar
700 Merrick Rd
NY 11510

Dimitri Marinos
59 Reyaanoad
NY 11563

Dimitrios Koulentianos
1705 East 32 Street
NY 11234

Dimitrios Papageorgiou
90-23 Ridge Blvd
NY 11209

Donna DelGrosso
176 Mott Avenue
NY 11096

Edgardo Castro
78 Ormonde Blvd
NY 11580

Edi Alvayeros Esquivel
17 Washburn Avenue
NY 11520

Eduardo Campos
85 Pennsylvania.Ave
NY 11550

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Eduardo Mayer Cordova
47 Dehnhoff Avenue
NY 11520

Edward Casanova
151 Union.Avenue
NY 11563

Efthimios Finitsis
204 East Euclid.Street
NY 11580

Eliseo Vigil Blanco
374 West Merrick Rd
NY 11520

Emerito Garcia
95 Broadway Avenue
NY 11590

Eunice Perez
1 Jefferson Avenue A2
NY 11570

Evriliki Katsavrias
28-44 46th St
NY 11103

Felix Gonzalez
17 Davis St
NY 11520

Fritz St Hilarie
261 South Franklin St
NY 11550

George Kazolas
1666 Bell Blvd
NY 11360

Georgios Dimitratos
72 Maple Street
NY 11735

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

German Meija
247 Grand.Avenue
NY 11552

Gina Rivero
295 Denton Avenue
NY 11563

Gina Scudese
24 Fifth Street
NY 11581

Grigorios Loukas
25-95 37 St
NY 11103

Ingrid Obando
36 Waldorf Avenue
NY 11003

Irene Volk
139 Garfield Place
NY 11518

Isaias Waldemar Melendez
18 Florida.Avenue
NY 11558

Janet Taqliagambe
670 Thomas Ave
NY 11510

Jason Cruz
428 Long Beach Road
NY 11558

Jeanne Weaver
16 Norton Street
NY 11520

Jennifer Molina
1641 Heckscher Ave
NY 11706

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Jennifer Ricca
869 DeMott Avenue
NY 11510

Jerome Hahn
409 Willow Lane
NY 11580

Jessica Grob
173 Sunrise Highway
NY 11570

Jesus Gomes Benitez
108 Babylon Tpke
NY 11575

Jesus Reyes Jr.
319 Vincent Ave
NY 11563

Joanne Guerra
2020 Prospect Ave
NY 11735

Joaquin Gonzalez
47 Queen Street
NY 11520

Jocelyn Carlson
55 New Street
NY 11572

John Clifford
161 Spencer Avenue
NY 11563

John Moustakas
135 Piccadilly Downs
NY 11563

Jonathan Faas
66 Midwood Street
NY 11580

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Jordan Thomas
34 Randall Avenue
NY 11563

Jorge Marcia
8 Broadway
NY 11563

Jorge Mejia Marcia
30 A.East Hampton Avenue
NY 11580

Jose Amador
401 Sunrise Hwy
NY 11520

Jose Benavides
511 Northern Pkwy
NY 11553

Jose Cruz
1 Jay Street
NY 11520

Jose Cruz
510 Sausi Street
NY 11520

Jose Nelson Sanchez Vigil
374 Madison Ave
NY 11520

Jose Paz
374 West Merrick Rd
NY 11520

Jose Perez Ponce
217 Bedford.Avenue
NY 11710

Jose Vasquez
246 Merrick.Rd
NY 11563

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Juan Guevara
1424 Gateway Blvd
NY 11691

Juan Marte
474 Greenwich Street
NY 11550

Juli Yanery Galan
20 Hutchison Place
NY 11563

Julianne Gonzalez
17 Leach Street
NY 11563

Julio Baer Herera
31 Casino Place
NY 11570

Julio Lemos
44 Winthrop Street
NY 11563

Julio Vijil
68 Dawes Avenue
NY 11575

Kaila Tracy
81 Edward Street
NY 11563

Karen Dubuke
Freer Street
NY 11563

Karen Paccio
28 Dureya Place Apt 3B
NY 11563

Karmen Levy
401 Sunrise Hwy
NY 11432

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Kate Davis
6 Smith Street
NY 11552

Kathryn Bayram
50 Harrison.Avenue
NY 11563

Keri Butler
132 Williamson Street
NY 11518

Kimberleigh Snow
24 Pennsylvania Ave
NY 11561

Konstandinos Nikolis
1908 OldDMJJ_Road
NY 11566

Kristie Steele
163 Waterford_Rd
NY 11558

Laura Giegerich
752 Merrick.Rd
NY 11510

Lauren Spaulding
48 Chestnut Street
NY 11563

Lesly Marcia
Sunrise Hwy
NY 11558

Lisa Barile
254 Amos Ave
NY 11572

Lisa Kogut
161 Traymore Blvd
NY 11558

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Lisa Lazuk
9 Lawson.Avenue
NY 11518

Lisandra Bernard
161-11 86 Crescent
NY 11432

Louis Majin Alvarez
510 Southside Ave
NY 11520

Lucy Marchese
78 Westcott Street
NY 11096

Luis Marques
510 Southside Ave
NY 11520

Luiz Alvarez
510 Southside
NY 11520

Magdaleno Sosa
45 North Ocean Ave Apt 4L
NY 11520

Maria Zamudio
2309 Milburn Ave
NY 11510

Mario Berrios Velasquez
233 East Market St
NY 11561

Mario Meija
87 Vermont Avenue
NY 11550

Mario Reyes
44 Liberty Blvd
NY 11580

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Maroulla Michael
67 Alhambra Road
NY 11768

Maureen Abramson
24 Pennsylvania Ave
NY 11561

Melvin Reyes
95-18 88 Street
NY 11416

Michael Batres
20 Clarissa Drive
NY 11801

Michael Birbilis
103 Lord Ave
NY 11096

Michael Klouvas
47-17 Astoria Blvd
NY 11105

Michelle Nicolo
13346 86 Street
NY 11417

Miguel Romero
202 Prospect.Ave
NY 11516

Monica Phillips
41 South Corona Avenue
NY 11580

Napoleon Perros
3626 Marinor Street
NY 11783

Nicolaos Katsiadakis
PO Box 154
NY 11558

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Nicolas Ramos Cruz
35 Elk St
NY 11550

Nicole Esposito
77 Vanderbilt Avenue
NY 11558

Nicole Sgambati
1676 Old Mill Rd
NY 11566

Nikolaos Georgiou
2837 Heath Ave
NY 11300

Nikolaos Margaris
20 Evelyn Avenue
NY 11590

Nilson Maldonad
9 Saint Paul Road
NY 11550

Noe Maradiaga
97-16 148th Street
NY 11435

Olga Lara
185 Quebec Rd
NY 11558

Osbely Gamarro
85-59 157 Street
NY 11412

Osmin Fernandez
17 Davis Street
NY 11520

Panagiotis Lafkas
76 Prospect.Avenue
NY 11557

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Patricia Kobishyn
80 Melrose Avenue
NY 11563

Patty Colentto
9746 95th Street
NY 11416

Paul Skoufis
196-16 47th.Ave
NY 11358

Pavlos Tzanis
78 Sugar~Maple Rd
NY 11756

Pedro Alex Artica
27754 Harvard Place
NY 11510

Pedro Zavala
10 Washington St lR
NY 11550

Penny Miranda
390 Ocean Ave
NY 11558

Petra Hofdeck
411 47th St
NY 11757

Ramon Hernandez
153 N Central Ave
NY 11580

Raul Gonzalez
401 Sunrise Hwy
NY 11563

Raul Viguil
68 Dawes Ave
NY 11575

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Reqina Conklin
280 Green Acres Road
NY 11581

Renaldo Turcios
169 Parson Drive
NY 11550

Rita Riso
490 Atlantic.Ave
NY 11518

Robbin Milles
729 Beech 9th Street
NY 11691

Roberto Velasques
85 Gold Street
NY 11580

Rory Earle
218 East Park.Ave
NY 11561

Rosalinda Torres
367 Wallace Street
NY 11520

Roseann Palmeri
121 Aylwood Drive
NY 11554

Rosemarie Shirlaw
189 Main Street
NY 11550

Rudy Guzman
46 North COrona Ave
NY 11580

Rufino Gonzalez
17 Davis Street
NY 11520

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Sabrina Medina
9716 148th Street
NY 11435

Salvador Gonzalez
246 Merrick.ROad
NY 11563

Salvatore DiGerOlamo
61 Lyon Place
NY 11563

Samantha Christou
328 East Harrison Street
NY 11561

Sandra Albert
1529 Atherton Ave
NY 11003

Sandra Berenice Sanchez
1106 Phillip Court
NY 11580

Santos Fernandez
143 East Milton St
NY 11520

Scott Maziejka
45 Waldo Ave
NY 11518

Sharon Beaton
268 Miller Ave
NY 11520

Sotiris Fointisis
232 Fir Street
NY 11580

Steve Tsiolis
2 Jester Ct
NY 11746

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Sue Francese Rosario
124-06 149 Avenue
NY 11420

Tomassina May
953 First; Ave
NY 11010

Toni Balzafiore
148 E New York Ave
NY 11580

Tracey LaChere
283 West Jamaica.Av
NY 11580

Valarie Clemens
137 Edgeworth St
NY 11581

Violetta Andreeva
3649 Oceanside Rd.W
NY 11572

Zavala, Santos
613 Liberty Street
NY 11553

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re:
Chapter ll
401 SUNRISE CORP.,
Case No. 18- ( )
Debtor.
X

 

AFFIDAVIT PURSUANT TO S.D.N.Y. LOCAL BANKRUPTCY RULE 1007-4
STATE OF NEW YORK )

)ss:

COUNTY OF §Q( 2@1$)

I, Nick Mavromihalis, duly sworn, depose and say:

1. I am the President of 401 Sunrise Corp. (the “Debtor”), and as such I am familiar
With the operations, business and financial affairs of the Debtor. I submit this affidavit in
accordance With the E.D.N.Y Local Bankruptcy Rule 1007-4 in support of the voluntary petition
filed by the Debtor.

2. There are no other or prior bankruptcy cases against the Debtor and as such there
has been no trustee or creditors’ committee appointed in this case.

3. A copy of the Debtor’s board resolution authorizing the Chapter ll filing is

annexed hereto as Exhibit “A”.

4. The Debtor is a New York corporation and was incorporated on June 3, 1986.
5. The Debtor operates as a diner restaurant in Lynbrook, New York.
6. The Debtor’s immediate need for relief in this Court stems from a pending Fair

Labor Standard Act lawsuit pending in the U.S. District Court for the Eastern District of New

York.

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

7. Pursuant to Rule 1007-(a)(4) of the local bankruptcy rules annexed hereto as
Exhibit “B” is a list containing the names and addresses of the Debtor’s twenty (20) largest
unsecured creditors, excluding insiders.

8. Pursuant to Rule 1007-2(a)(5) of the local bankruptcy rules, annexed hereto as
Exhibit “C” is a list containing the names and addresses of the Debtor’s five (5) largest secured
claims.

9. Pursuant to Rule 1007-2(a)(6) of the local bankruptcy rules, annexed hereto as
Exhibit “D” is a summary of the Debtor’s assets and liabilities This is an internally generated
estimate of assets and liabilities and may require certain adjustments

10. The Debtor does not have any publicly held shares, debentures, or other
securities

11. There is no property of the Debtor in the possession or custody of any public
officer, receiver, trustee, pledge, assignee of rents, liquidators, secured creditors, or agents of
such person.

12. The Debtor’s assets consist primarily of food and beverage inventory and
restaurant furniture, fixtures and equipment The Debtor’S books and records are located at 143-
26 22nd Road, Whitestone, NY l 1357.

13. Aside from the Manager, the Debtor has 33 employees with and an approximate
monthly payroll of $48,520.00.

14. The Debtor expects to receive revenue from operations of the business in the
amount of approximately $148,000.00 for the thirty (30) day period following the Chapter ll
filing. The Debtor’s operating expenses during the same thirty (30) day period should be

approximately $40,000.00.

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

ads

Nick Mavromihaiis, President

Swom to before me this
/ U`Hday of August, 2018

T Y PUBLIC

LUZ M. ROSADO
NOTARY PUBLlC-STATE oF NEW YORK
No. 0lR06230013
Quollfled ln Queens County
My Commlsslon Explres October 25. 2018

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

EXHIBIT A

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

X
In re:
Chapter ll
401 SUNRISE CORP.,
Case No. 18- ( )
Debtor.
X
CORPORATE RESOLUTION

 

At the meeting of the Board of Directors of 401 Sunrise Corp., a New York corporation
(“401 Sunrise”), it Was determined to be in the best interests of 401 Sunrise to file for bankruptcy
under Chapter ll of the United States Bankruptcy Code and the following resolution was
adopted:

Whereas, it is in the best interest of this company to file a voluntary
petition in the United States Bankruptcy Court pursuant to Chapter 11 of Title ll
of the United States Code;

Be It Therefore Resolved, that Nick Mavromihalis, President of this
company, is authorized and directed to execute and deliver all documents
necessary to perfect the filing of a chapter ll voluntary bankruptcy case on behalf
of the corporation; and

Be It Further Resolved, that Nick Mavromihaiis, President of this
company, is authorized and directed to appear in all bankruptcy proceedings on
behalf of the company, and to otherwise do and perform all acts and deeds and to
execute and deliver all necessary documents on behalf of the corporation in
connection with such bankruptcy case; and

Be lt Further Resolved, that Nick Mavromihaiis, President of this
company, is authorized and directed to employ Lawrence F. Morrison, attorney
and the law firm of Morrison Tenenbaum, PLLC to represent the corporation in
such bankruptcy case

Dated: New York, New York

August [[2 , 2018
law /a,»»%a_a

Nick Mavromihalis, President

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

EXHIBIT B

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

Fi|i in this information to identify the case;

Dethr name 401 SUNR|SE CORP.

 

 

United States Bankruptcy Court for the: EASTERN DlSTR|CT OF NEW YORK

 

Case number (if known)
|:| Check if this is an
amended Hiing

 

Official Form 202
Dec|aration Under Penaity of Perjury for Non-individuai Debtors 12115

 

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and iiabiiities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individua|’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Ru|es 1008 and 9011.

WARN|NG -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

- Dec|aration and signature

l am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

 

l have examined the information in the documents checked below and i have a reasonable belief that the information is true and correct:

Schedule A/B.' Assets-Rea/ and Personal Property (Officia| Form 206A/B)

Schedule D.' Creditors Who Have Claims Secured by Property (Officiai Form 206D)

Schedule E/F: Credltors Who Have Unsecured Claims (Offlciai Form 206E/F)

Schedule G.' Executory Contracts and Unexplred Leases (Official Form 206(5)

Schedule H.' Codebtors (thciai Form 206H)

Summary ofAssets and Liabl/itles for Non-lndlvidua/s (Offlcial Form 2068um)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largesf Unsecured 'C/aiinsahdireil\lot_lh§dmorm 204)
Other document that requires a declaration

 

mgmnmnnmm

l declare under penalty of perjury that the foregoing is true and correct

Executed On Mi X /é{r¢t/,é’»/,V%Mli/d§;o

vi §ignature ofindividua| signing on behalf of debtor

Nick Mavromihaiis
Printed name

,,P,residem

Position or relatic;iship to debtor

Official Form 202 Dec|aration Under Penaity of Perjury for Non-|ndividuai Debtors

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

 
 

Fll| in this information to identify the case;

Debtor name 401 SUNR|SE CORP.

United States Bankruptcy Court for the: EASTERN DlSTR|CT OF NEW 1 Ei Check if this is an
YORK

Case number (if known): amended filing

 

 

 

 

 

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not insiders 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). A|so, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 

 

Name of creditor and Name, telephone number Nature of claim indicate if claim Amount of claim
complete mailing address, and small address of (for example, trade is contingent, if the claim is fully unsecured, ill in only unsecured claim amount |
including zip code creditor contact debts, bank ioans, unliquidated, or claim is partially secured, fill in total claim amount and deduction for
professional services, disputed value of collateral or setoff to calculate unsecured claim.

and government Total claim, if Deduction for value Unsecured claim
CO"\¢"'~=\°!S) partially secured of collateral or setoff

Agapios Pavlides $0.00
42-46 196 St
NY 11358
Alcides Cruz $0.00
37 Grant St
NY 11575
Aifredo Talavera $0.00
57 Fi|lmore Avenue
NY 11729

A|irio Tabor $0.00
20 Henri St
NY 11696
Amner Vigi| B|anco $0.00
374 Me|vine Road
NY 11520
Anastasia Tsagouris $0.00
2 Andrew Lane
NY 11714
Andrea Potaris $0.00
8 North B|vd ,
NY 11518 `
Andrew Haas ' $0.00
1170 Brunswick Ave
NY 11691

Ange|o Ca|deron ‘ $0.00
91-51 195 Street
NY 11423
Aniba| Saiomon $0.00
Alvarez

51 0 Southside
NY 11520
Annmarie Giordano $0.00
2631 Fox Road
NY 11510

 

 

-n

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ochia| form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims page 1

Software Copyright (c) 1996-2018 Best Case. LLC - www.bestcase.com Best Case Bankruptcy

Debtor

Case 1-18-44666 DOC 1 Filed 08/13/18 Entei’ed 08/13/18 16212:02

401 SUNR|SE CORP.

 

Name

Case number (ifknown)

 

 

Name of creditor and

 

complete mailing address,

Name, telephone number
and small address of

 

including zip code

 

creditor contact

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nature of claim

(for example, trade
debts, bank ioans,
professional services,

lndlcate lf claim
is contingent,
unliquidated, or
disputed

Amount of claim

if the claim is fully unsecured, fill in only unsecured claim amount if
claim is partially secured, fill irl total claim amount and deduction for
value of collateral or setoff to calculate unsecured claim.

 

Total claim, if
partially secured

Deduction for value
of collateral or setoff

Unsecured claim

 

Antonio Hernandez
F|ores

511 Northern
Parkway

NY 11553

$0.00

 

Antonio Vasquez
iglesias

108 Baby|on Tpke
NY 11575

$0.00

 

Argyros Spyridon
139 Grand B|vd
NY 1 1762

$0.00

 

Aristomenis
Mitropouios

33 Monroe Street
NY 1 1 563

$0.00

 

Arnoldo Lopez
215 Travis Avenue
NY 1 1003

$0.00

 

Ashley Greene
37 Jackson Road
NY 11581

$0.00

 

Ba|dassarre
Esposito

295 Denton Avenue
NY 1 1 563

$0.00

 

Beth Lapidus
149 Page Road
NY 11581

$0.00

 

Bi||ie Bartole
246-11 Jericho Tpke
NY 11426

 

 

 

 

 

 

 

$0.00

 

Official form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com

page 2

Best Case Bankruptcy

 

Case 1-18-44666 DOC 1 Filed 08/13/18 Entered 08/13/18 16212202

EXHIBIT C

None

Case 1-18-44666 DOC 1 Filed 08/13/18 Entered 08/13/18 16212:02

EXIHIBIT D

Est. Assets: $1,000,000.00
Est. Liabilities: $500,00.00

Case 1-18-44666 DOC 1 Filed 08/13/18 Entered 08/13/18 16212:02

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

sTATEMENT PURSUANT To LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): 401 SUNR|SE CCRP- CASE NO.:.

 

 

Pursuant to Local Bankruptcy Rule lO73-2(b), the debtor (Or any other petitioned hereby makes the following disclosure
concerning Related Cases, to the petitioners best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-l and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or eX-spouses; (iii) are afl`lliates, as defined in ll U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under ll U.S.C. § 54l(a).]

l:l NO RELATED CASE IS PENDlNG OR HAS BEEN PENDlNG AT ANY TIME.

l THE FOLLOWING RELATED CASE(S) IS PENDlNG OR HAS BEEN PENDlNG:

l. CASE NO.: 18-44350 (CEC) JUDGE: CEC DlSTRICT/DIVlSION: EDNY
DEBTOR NAME: 401 Rea|ty Corp.
CASE STILL PENDlNG (Y/N): Y [Ifclosed] Date of closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, contirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affi|iate

 

REAL PROPERTY LISTED lN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

2. CASE NO.: 18-44349 JUDGE: CEC DISTRICT/DIVISION: EDNY

DEBTOR NAME: Nichoias Mavromihaiis

CASE STILL PENDlNG (Y/N): Y [Ifclosed] Date of closings

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, coni`lrmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above): Affi|iate

REAL PROPERTY LlSTED lN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHlCH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

3. CASE NO.: JUDGE: DISTRICT/DIVISlON:
CASE STILL PENDlNG (Y/N): [lfclosed] Date of closing:
(OVER)

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 1-18-44666 DOC 1 Filed 08/13/18 Entered 08/13/18 16212:02

DISCLOSURE OF RELATED CASES (cont'd)

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

 

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICl-l WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:

NOTE.' Pursuant to ll U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COl\/IPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLlCABLE;

I am admitted to practice in the Eastem District of New York (Y/N): Y

CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.

/s/ Lawrence F. Morrison

Lawrence F. Morrison

Signature of Debtor's Attomey Signature of Pro Se Debtor/Petitioner
Morrison Tenenbaum, PLLC

87 Wa|ker Street, Second F|oor
New York, NY10013
212'62°'0938 Fax:646'390'5°95 Signature of Pro Se Joint Debtor/Petitioner

 

 

 

 

Mailing Address of Debtor/Petitioner

 

City, State, Zip Code

 

Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate Sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case With prejudice

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.

USBC-l7 Rev.S/l 1/2009
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

Case 1-18-44666 DOC 1 Filed 08/13/18 Entered 08/13/18 16212:02

UN|TED STATES BANKRUPTCY COURT
EASTERN DlSTR|CT OF NEW YORK

 

 

X Chapter 11
|N RE; 401 SUNRlsE CORP.
Case No.:
Debtor(s) STATEi\/iENT PURSUANT TO LOCAL RULE 2017
X

 

i, Lawrence F. Morrison, an attorney admitted to practice in this Court, state:
1. That i am the attorney for the above-named debtor(s) and am fully familiar With the facts hereln.

2. That prior to the filing of the petition herein, my firm rendered the following services to the
above-named debtor(s):

Date\Time Services

 

initial interview, analysis of financial
7/25/2018 condition, etc.

Preparation and review of
8/10/2018 Bankruptcy petition

3. That my firm Wi|i also represent the debtor(s) at the first meeting of creditors
4. That ali services rendered prior to the filing of the petition herein were rendered by my firm.
5. That my usual rate.of compensation of bankruptcy matters of this type is $ S>_§.
Dated: August1o, 2018
/s/ Lawrence F. Morrison

Lawrence F. Morrison

Attomey for debtor(s)
Morrison Tenenbaum, PLLC
87 Wa|ker Street, Second Fioor
New York, NY 10013

 

212-620-0938 Fax:646-390-5095
info@m-t-iaw.com

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com Best Case Bankruptcy

